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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

EDWIN DIAZ, on behalf of himself and

all others similarly situated,

Plaintiffs, : Case No. 1: 18-cv-07953-KPF
ve .
THE KROGER CO.,

Defendant.

AFFIDAVIT OF ANDREW WHITING

COUNTY OF Hamilton )
) SS.:
STATE OF OHIO )

I, Andrew Whiting, first having been duly sworn, depose and state as follows:

1. I am over the age of 18 and of sound mind, and have personal knowledge of the
matters set forth herein.

2. I am the Group Product Design Manager for The Kroger Co. ("Kroger") and have
held that position for 1 year.

3. Kroger is an Ohio corporation with its principal place of business located at 1014
Vine Street, Cincinnati, Ohio.

4, Kroger is a food and grocery retailer that operates Kroger stores.

5. Kroger also owns and operates the website with the internet address of
www.kroger.com.

6. Kroger does not operate any of its retail stores in the State of New York.
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10.

11.

12,

13.

The closest Kroger store in relation to Plaintiff's home in Bronx, New York is in
Hayes, Virginia. Attached as Exhibit "A" is a print out from the Kroger website
indicating the Hayes, Virginia store is approximately 275 miles from Plaintiff's
home.

Prior to the inception of this lawsuit, Kroger has undertaken to comply with the
Website Content Accessibility Guidelines (“WCAG”) and is compliant with
WCAG 2.0 standards.

After Kroger was served with the Complaint in this action, I personally reviewed
the Complaint and understand all the alleged deficiencies with the Kroger website
alleged in the Complaint (and First Amended Complaint).

I have personally made sure that all such deficiencies alleged in the Complaint and
First Amended Complaint have been remedied and that no such barriers to access,
as alleged, still exist with www.Kroger.com.

Since www.Kroger.com is now compliant with the WCAG 2.0 standards, there is
no reason for Kroger to undo the changes that have been made.

Kroger is committed to continuing to keep its website up to date and compliant with
all applicable standards to make the website as accessible to all as possible.

Kroger does not intend to let its website fall behind the current standards and will
continue to keep the website up to date with any new standards because it does not
wish to be involved in any further, unnecessary litigation and because of its
commitment to being accessible to as many of its patrons, and as much of the

public, as possible.
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Executed this 17 day of January, 2019.
Further affiant sayeth naught.

44

~ Andrew Whiping

Sworn to before me this

   

   

| day of January, 2019. TRU
or Ty Se,
s& ss,
& £ = = THERESARATHBONE
Exe sence i — Notary Public, State of Ohlo
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